                                      EXHIBIT A
                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF IOWA

 In Re:

 VeroBlue Farms USA, Inc., et al.,                   Bankruptcy No: 18-01297

        Debtors.                                     Chapter 11

 VeroBlue Farms USA, Inc.                            Adversary No. 19-09015

        Plaintiff(s).

  vs.

  Cassels Brock & Blackwell LLP

        Defendant.

   DEBTORS’ ANSWERS TO DEFENDANT’S FIRST SET OF INTERROGATORIES

        Debtors, for their Answers to Defendant’s First Set of Interrogatories, state as follows,

noting that Debtors reserve the right to amend or supplement these answers to the full extent

permitted by law:

                                    STANDING OBJECTION

        Debtors object to any interrogatories, including discrete sub-parts, that are beyond the

permitted numerical limit.


INTERROGATORY NO. 1: Set forth the facts upon which Debtors allege that this Court has
personal jurisdiction over Cassels; identify the individuals with personal knowledge of each fact
identified in answer to this Interrogatory; and identify the documents evidencing each fact
identified in answer to this Interrogatory.

ANSWER: Objection, Defendant has waived any defenses to personal jurisdiction, and therefore,
this interrogatory is not reasonably calculated to lead to the discovery of evidence admissible at
trial.

INTERROGATORY NO. 2: With respect to the allegation in Paragraph 4 of the Complaint, that
“Cassels has made a contract with Debtors to be performed in whole or in part in Iowa”, identify
the facts upon which this allegation is based, including but not limited to the terms of the contract
and the acts under the contract performed by Cassels in Iowa; identify the individuals with personal
knowledge of the facts identified in answer to this Interrogatory including but not limited to the
individuals on behalf of Cassels who entered into the “contract” and the individuals on behalf of
Debtors who entered into the “contract”; and identify the documents evidencing the facts identified
in answer to this Interrogatory including but not limited to the documents setting forth the terms of
the contract.

ANSWER: Objection, (a) Defendant has waived any defenses to personal jurisdiction, and
therefore, this interrogatory is not reasonably calculated to lead to the discovery of evidence
admissible at trial; and (b) calls for a legal conclusion.

Without waiving said objections, one or more Debtors, explicitly or impliedly through conduct,
sought legal assistance from Defendant, and Defendant agreed to provide the same from in or
around fall 2014 through early 2017. Defendant billed one or more Debtors for legal services,
communicated with representatives of Debtors in the provision of such services, and received
payment from Debtor VeroBlue Farms USA, Inc. (“VBF USA”) for such services.

Persons with knowledge include, but are not limited to:
   1.      Leslie A. Wulf
           c/o Underwood Perkins, PC

   2.      Bruce A. Hall
           c/o Underwood Perkins, PC

   3.      James Rea
           c/o Underwood Perkins, PC

   4.      John E. Rea (“Ted”)
           c/o Underwood Perkins, PC

   5.      Keith Driver
           c/o Bell Nunnally & Martin LLP

   6.      Norman McCowan
           c/o Thompson Coburn LLP

   7.      Katharine R. Olson
           c/o Thompson Coburn LLP

   8.      Terry Lyons
           319 – 10th Ave SW
           Suite 200
           Calgary AB T2R 0A5

   9.      John Brojborg
           4209 Cedarbrook Cir
           Richardson, TX 75082-5004
           (214) 498-0567
                                                 -2-
   10.    Richard Dahlson, Esq., Chris Rourk and other Jackson Walker attorneys familiar with
          Debtors
          c/o Jackson Walker LLP (Dallas, Texas)

   11.    Gregg Sedun
          6251 Par Rd, Whistler, British Columbia

   12.    Kenneth Lockard
          FishDish LLC
          c/o Beecher, Field, Walker, Morris, Hoffman & Johnson, P.C.
          60 Lafayette Street, Suite 300
          P.O. Box 178
          Waterloo, IA
          8024 Slap Tail Trail, Cedar Falls, IA 50613
          Lockard Companies, 4501 Prairie Parkway Cedar Falls, IA 50613

   13.    Sean Maniaci
          Sue Baksh
          Gary Steinhart
          John T.C. Christian
          Megan Braun
          Michael Lungu
          Jamie Litchen
          Mark Bennett
          John N. Birch
          Abidali Ismaili
          Cassels Brock & Blackwell LLP

   14.    Goldstein & McClintock LLLP
          c/o Thomas Fawkes
          111 W. Washington Street, Suite 1221
          Chicago, IL 60602

   15.    Horwood Marcus & Berk, Chartered
          c/o Aaron Hammer and John Guzzardo
          500 West Madison Street, Suite 3700
          Chicago, IL 60661

   16.    Beecher, Field, Walker, Morris, Hoffman & Johnson, P.C.
          c/o John Walker Jr.
          620 Lafayette Street, Suite 300
          Waterloo, IA 50704

See also, documents produced by Debtors in response to Defendant’s requests for production.
Other relevant documents are possessed or controlled by the as the “Founders” of Debtors (i.e.
Leslie Wulf, James Rea, John Rea, Bruce Hall, and Keith Driver)
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Investigation continues as the Founders have, at relevant times, been in collusion with Sean
Maniaci of Defendant, and have actively sought to conceal and shield information that would be
further responsive to this interrogatory from Debtors, as the Founders were in control of Debtors at
relevant times. Debtors fully expect to update this answer if and when Defendant and pertinent
third parties produce documents and information in response to Debtors’ discovery requests and
subpoenas, and when Debtors receive proper Rule 26 disclosures from Defendant.

INTERROGATORY NO. 3: With respect to the allegation in Paragraph 4 of the Complaint, that
“Cassels committed tortious acts in part in Iowa and against Iowa residents”, identify each tortious
act upon which this allegation is based, including but not limited to, the date of the act and a
description of the act; identify each individual having personal knowledge of the tortious acts
identified in answer to this Interrogatory, including but not limited to the actor or actors; and
identify each document evidencing the tortious acts identified in answer to this Interrogatory.

ANSWER: Objection, (a) Defendant has waived any defenses to personal jurisdiction, and
therefore, this interrogatory is not reasonably calculated to lead to the discovery of evidence
admissible at trial; and (b) calls for a legal conclusion.

Without waiving said objections, Debtors incorporate their answer to interrogatory number 2 into
this answer.

Further answering, see allegations and exhibited documents set forth in the following paragraphs
of Debtors’ currently-pending Complaint in this action, Dkt. 1: 13-14, 16-47, and 53-54.

See also, documents produced by Debtors in response to Defendant’s requests for production.
Other relevant documents are possessed or controlled by the as the “Founders” of Debtors (i.e.
Leslie Wulf, James Rea, John Rea, Bruce Hall, and Keith Driver)

Investigation continues as the Founders have, at relevant times, been in collusion with Sean
Maniaci of Defendant, and have actively sought to conceal and shield information that would be
further responsive to this interrogatory from Debtors, as the Founders were in control of Debtors at
relevant times. Debtors fully expect to update this answer if and when Defendant and pertinent
third parties produce documents and information in response to Debtors’ discovery requests and
subpoenas,

INTERROGATORY NO. 4: Set forth the facts upon which Debtors allege that venue of this
proceeding is proper in this district; identify the individuals with personal knowledge of the facts
identified in answer to this Interrogatory; and identify the documents evidencing the facts identified
in answer to this Interrogatory.

ANSWER: Objection, Defendant has waived any defenses to venue, and therefore, this
interrogatory is not reasonably calculated to lead to the discovery of evidence admissible at trial.

INTERROGATORY NO. 5: Set forth the facts upon which Debtors allege that there is a clear
attorney-client relationship between Cassels and VeroBlue Farms USA, Inc. as set forth in



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Paragraph 13 of the Complaint; identify the individuals with personal knowledge of the facts
identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory, including without limitation any and all representation
agreements.

INTERROGATORY NO. 6: Set forth the facts upon which Debtors allege that there is a clear
attorney-client relationship between Cassels and VBF Operations, Inc. as set forth in Paragraph 13
of the Complaint; identify the individuals with personal knowledge of the facts identified in answer
to this Interrogatory; and identify the documents evidencing the facts identified in answer to this
Interrogatory, including without limitation any and all representation agreements.

INTERROGATORY NO. 7: Set forth the facts upon which Debtors allege that there is a clear
attorney-client relationship between Cassels and VBF Transport, Inc. as set forth in Paragraph 13
of the Complaint; identify the individuals with personal knowledge of the facts identified in answer
to this Interrogatory; and identify the documents evidencing the facts identified in answer to this
Interrogatory, including without limitation any and all representation agreements.

INTERROGATORY NO. 8: Set forth the facts upon which Debtors allege that there is a clear
attorney-client relationship between Cassels and VBF IP, Inc. as set forth in Paragraph 13 of the
Complaint; identify the individuals with personal knowledge of the facts identified in answer to
this Interrogatory; and identify the documents evidencing the facts identified in answer to this
Interrogatory, including without limitation any and all representation agreements.

INTERROGATORY NO. 9: Set forth the facts upon which Debtors allege that there is a clear
attorney-client relationship between Cassels and Iowa’s First, Inc. as set forth in Paragraph 13 of
the Complaint; identify the individuals with personal knowledge of the facts identified in answer
to this Interrogatory; and identify the documents evidencing the facts identified in answer to this
Interrogatory, including without limitation any and all representation agreements

ANSWERS TO INTERROGATORY NOS. 5-9: Objection, calls for a legal conclusion.
Without waiving said objection, one or more Debtors, explicitly or impliedly through conduct,
sought legal assistance from Defendant, and Defendant agreed to provide the same from in or
around fall 2014 through early 2017. Defendant billed one or more Debtors for legal services,
communicated with representatives of Debtors in the provision of such services, and received
payment from Debtor VeroBlue Farms USA, Inc. (“VBF USA”) for such services. Defendant
submitted sworn Proofs of Claims in the Debtors’ bankruptcy proceedings, through which the
Defendant swore, under penalties of perjury and other federal criminal penalties, that Debtors
owed Defendant money for legal services performed for Debtors. See also, Debtors’ Adversary
Complaint in this action, Dkt. 1, at paragraphs 10-47.

Some of the information that would be responsive to this interrogatory has been classified as
“confidential” by the Founders pursuant to a protective order in another matter. Debtors will
produce such information upon the agreement of the Founders, the Defendant’s agreement to keep
the same confidential, and/or by court order.



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See also, documents produced by Debtors in response to Defendant’s requests for production.
Other relevant documents are possessed or controlled by the as the “Founders” of Debtors (i.e.
Leslie Wulf, James Rea, John Rea, Bruce Hall, and Keith Driver).

Persons with knowledge include, but are not limited to:
   1.      Leslie A. Wulf
           c/o Underwood Perkins, PC

   2.      Bruce A. Hall
           c/o Underwood Perkins, PC

   3.      James Rea
           c/o Underwood Perkins, PC

   4.      John E. Rea (“Ted”)
           c/o Underwood Perkins, PC

   5.      Keith Driver
           c/o Bell Nunnally & Martin LLP

   6.      Norman McCowan
           c/o Thompson Coburn LLP

   7.      Katharine R. Olson
           c/o Thompson Coburn LLP

   8.      Terry Lyons
           319 – 10th Ave SW
           Suite 200
           Calgary AB T2R 0A5

   9.      John Brojborg
           4209 Cedarbrook Cir
           Richardson, TX 75082-5004
           (214) 498-0567

   10.     Richard Dahlson, Esq., Chris Rourk and other Jackson Walker attorneys familiar with
           Debtors
           c/o Jackson Walker LLP (Dallas, Texas)

   11.     Gregg Sedun
           6251 Par Rd, Whistler, British Columbia

   12.     Kenneth Lockard
           FishDish LLC
           c/o Beecher, Field, Walker, Morris, Hoffman & Johnson, P.C.


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           60 Lafayette Street, Suite 300
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           8024 Slap Tail Trail, Cedar Falls, IA 50613
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   13.     Sean Maniaci
           Sue Baksh
           Gary Steinhart
           John T.C. Christian
           Megan Braun
           Michael Lungu
           Jamie Litchen
           Mark Bennett
           John N. Birch
           Abidali Ismaili
           Cassels Brock & Blackwell LLP

   14.     Goldstein & McClintock LLLP
           c/o Thomas Fawkes
           111 W. Washington Street, Suite 1221
           Chicago, IL 60602

   15.     Horwood Marcus & Berk, Chartered
           c/o Aaron Hammer and John Guzzardo
           500 West Madison Street, Suite 3700
           Chicago, IL 60661

   16.     Beecher, Field, Walker, Morris, Hoffman & Johnson, P.C.
           c/o John Walker Jr.
           620 Lafayette Street, Suite 300
           Waterloo, IA 50704

Investigation continues as the Founders have, at relevant times, been in collusion with Sean
Maniaci of Defendant, and have actively sought to conceal and shield information that would be
further responsive to this interrogatory from Debtors, as the Founders were in control of Debtors
at relevant times. Debtors fully expect to update this answer if and when Defendant and pertinent
third parties produce documents and information in response to Debtors’ discovery requests and
subpoenas, and when Debtors receive Defendant’s Rule 26 disclosures, which are currently
overdue.

INTERROGATORY NO. 10: With respect to the allegation in Paragraph 16 of the Complaint
that “Debtors have recently discovered emails”, identify when and how Debtors discovered the
emails, including the identity of the computers or servers on which the emails were stored; identify
each individual involved in the discovery of the emails; and identify all documents evidencing the
discovery of the emails (not the emails themselves).


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ANSWER: Objection, overbroad and unduly burdensome. Without waiving said objections,
Debtors have discovered such information through review of VBF USA’s related affiliates’
servers, including, but not limited to the Founders’ emails, production of client files by Jackson
Walker LLP, and various other discovery received in VBF USA’s, pending action against the
Founders in the United States District Court for the Northern District of Texas. Otherwise, Debtors
sources of information are too numerous to list, and also protected by the attorney-client and work-
product privileges.

INTERROGATORY NO. 11:                  With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels “to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates”, identify each matter on
which Debtors allege Cassels represented VeroBlue Farms USA, Inc.; identify the individuals
acting on behalf of VeroBlue Farms USA, Inc. involved in the matter; identify the individuals
acting on behalf of Cassels involved in the matter; and identify all documents evidencing that
Cassels had undertaken representation of VeroBlue Farms USA, Inc. with respect to each matter
identified in answer to this Interrogatory.

INTERROGATORY NO. 12: With respect to the allegation in Paragraph 51 of the Complaint,
that Debtors request the Court to order Cassels “to turn over its entire file(s), however maintained,
whether paper, electric or otherwise maintained by the firm in conjunction [sic] all matters on
which it represented [sic] of the Debtors and all affiliates”, identify each matter on which Debtors
allege Cassels represented VBF Operations, Inc.; identify the individuals acting on behalf of VBF
Operations, Inc. involved in the matter; identify the individuals acting on behalf of Cassels
involved in the matter; and identify all documents evidencing that Cassels had undertaken
representation of VBF Operations, Inc. with respect to each matter identified in answer to this
Interrogatory.

INTERROGATORY NO. 13:                 With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels “to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates”, identify each matter on
which Debtors allege Cassels represented VBF Transport, Inc.; identify the individuals acting on
behalf of VBF Transport, Inc. involved in the matter; identify the individuals acting on behalf of
Cassels involved in the matter; and identify all documents evidencing that Cassels had undertaken
representation of VBF Transport, Inc. with respect to each matter identified in answer to this
Interrogatory.

INTERROGATORY NO. 14:                   With respect to the allegation in Paragraph 51 of the
Complaint, that Debtors request the Court to order Cassels “to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates”, identify each matter on which
Debtors allege Cassels represented VBF IP, Inc.; identify the individuals acting on behalf of VBF
IP, Inc. involved in the matter; identify the individuals acting on behalf of Cassels involved in the
matter; and identify all documents evidencing that Cassels had undertaken representation of VBF
IP, Inc. with respect to each matter identified in answer to this Interrogatory.


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INTERROGATORY NO. 15: With respect to the allegation in Paragraph 51 of the Complaint,
that Debtors request the Court to order Cassels “to turn over its entire file(s), however
maintained, whether paper, electric or otherwise maintained by the firm in conjunction [sic] all
matters on which it represented [sic] of the Debtors and all affiliates”, identify each matter on
which Debtors allege Cassels represented Iowa’s First, Inc.; identify the individuals acting on
behalf of Iowa’s First, Inc. involved in the matter; identify the individuals acting on behalf of
Cassels involved in the matter; and identify all documents evidencing that Cassels had
undertaken representation of Iowa’s First, Inc. with respect to each matter identified in answer to
this Interrogatory.

ANSWERS TO INTERROGATORY NOS. 11-15: Objection, calls for a legal conclusion.
Without waiving said objection, Debtors incorporate their answer to interrogatory number 2 and
interrogatories numbered 5 through 9. Debtors will also produce all of Defendant’s invoices in
their possession or control which are also responsive to this Interrogatory. Investigation continues.

INTERROGATORY NO. 16: Set forth the facts upon which Debtors allege in Paragraphs 53
and 54 of their Complaint that “Debtors have ownership and other possessory rights in the Client
Files” in which Cassels has exercised dominion or control; identify the individuals with personal
knowledge of the facts identified in answer to this Interrogatory; and identify the documents
evidencing the facts identified in answer to this Interrogatory.

ANSWER: Objection, calls for a legal conclusion. Without waiving said objection, Debtors
incorporate their answer to interrogatory number 2 and interrogatories numbered 5 through 9.
Debtors will also produce all of Defendant’s invoices in their possession or control which are
also responsive to this Interrogatory. Investigation continues.

INTERROGATORY NO. 17: Set forth the facts upon which Debtors allege they have suffered
compensatory damages as a direct and proximate result of Cassels conversion of the Client Files
as alleged in Paragraph 55 of the Complaint; identify the individuals with personal knowledge of
the facts identified in answer to this Interrogatory; and identify the documents evidencing the facts
identified in answer to this Interrogatory.

ANSWER: Objection, calls for a legal conclusion. Without waiving said objection, Debtors
incorporate their answer to interrogatory number 2, interrogatories numbered 5 through 9, and
interrogatories numbered 11 through 15. Answering further, Debtors have suffered damages
caused by Defendant’s conversion of the Client Files (as that term is defined in the Complaint),
upon information and belief, in excess of $75,000, further resulting from Debtors’ lack of access
to the information contained in the Client Files to operate their business after the Founders’
departure by early 2018, professional fees expended by VBF USA to address the same, and other
damages. Investigation continues.

INTERROGATORY NO. 18: Set forth the facts upon which Debtors allege they are entitled to
punitive damages as alleged in Paragraph 56 of the Complaint; identify the individuals with
personal knowledge of the facts identified in answer to this Interrogatory; and identify the
documents evidencing the facts identified in answer to this Interrogatory.


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ANSWER: Objection, calls for a legal conclusion. Without waiving said objection, see
paragraphs 13-14, 16-47, and 53-54 of the Complaint. Defendant’s conduct has been wilful and
wanton, obviously designed to further and conceal Defendant’s, Sean Maniaci’s, and the
Founders’ misconduct.

Dated: October 15, 2019

 THOMPSON COBURN LLP                            ELDERKIN & PIRNIE

 /s/ Robert H. Lang                             /s/ Dan Childers
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 Counsel for the Debtors




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